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                               Exhibit 39



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
               Case 1:01-cv-12257-PBS Document 6528-40 Filed 09/22/09 Page 2 of 8
Terrebonne, Mary Julia - November 7, 2008 10:03:00 a.m.




     1:1               UNITED STATES DISTRICT COURT

       2              FOR THE DISTRICT OF MASSACHUSETTS

       3     IN RE: PHARMACEUTICAL               *   MDL NO. 1456

       4     INDUSTRY AVERAGE WHOLESALE          *   MASTER FILE NO.

       5     PRICE LITIGATION                    *   01-CV-12257-PBS

       6                                         *

       7     THIS DOCUMENT RELATES TO:           *   JUDGE PATTI B.

       8     U.S. EX REL. VEN-A-CARE OF          *   SARIS

       9     THE FLORIDA KEYS, INC. V.           *   MAGISTRATE

      10     DEY INC., ET AL                     *   MARIANNE BOWLER

      11     NO. 05-11084-PBS, AND               *

      12     U.S. EX REL VEN-A-CARE OF           *

      13     THE FLORIDA KEYS, INC., ET          *

      14     AL V. BOEHRINGER INGELHEIM          *   (Cross-noticed

      15     CORP, ET AL                         *    captions on

      16     NO.07-10248-PBS                     *    following pages.)

      17     * * * * * * * * * * * * * * *

      18                November 7, 2008

      19                Transcript of the videotaped Rule

      20     30(b)(6) deposition of the LOUISIANA

      21     DEPARTMENT OF HEALTH AND HOSPITALS through

      22     MARY JULIA TERREBONNE




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     2:1     IN RE: PHARMACEUTICAL               *   MDL NO. 1456

       2     INDUSTRY AVERAGE WHOLESALE          *   MASTER FILE NO.

       3     PRICE LITIGATION                    *   01-CV-12257-PBS

       4                                         *

       5     THIS DOCUMENT RELATES TO:           *   JUDGE PATTI

       6     U.S. EX REL. VEN-A-CARE OF          *   B. SARIS

       7     THE FLORIDA KEYS, INC. V.           *   MAGISTRATE

       8     ABBOTT LABORATORIES, INC.,          *   MARIANNE BOWLER

       9     ET AL                               *

      10     NO. 06-CV-11337-PBS AND             *

      11     U.S. EX REL. VEN-A-CARE OF          *

      12     THE FLORIDA KEYS, INC. V.           *

      13     ABBOTT LABORATORIES, INC.           *

      14     NO. 07-CV-11618-PBS                 *

      15     * * * * * * * * * * * * * * *

      16

      17

      18                Transcript of the videotaped Rule

      19     30(b)(6) deposition of the LOUISIANA

      20     DEPARTMENT OF HEALTH AND HOSPITALS through

      21     MARY JULIA TERREBONNE, 6080 Esplanade Avenue,

      22     Baton Rouge, Louisiana 70806, taken in the




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  139:1            A.     Yes.

       2           Q.     Did DHH attempt to establish estimated

       3     acquisition cost levels at the prices generally

       4     and currently being paid for drugs?

       5           A.     I would say yes based on the survey

       6     results.

       7           Q.     Can I ask you to look at attachment 1

       8     to this document?       It's a Bates labeled

       9     JD-SUB-LA-000211.       Just tell me when you've had a

      10     chance to familiarize yourself with that, with

      11     the two-page attachment. Well, I'm only going to

      12     ask you about the two pages.

      13           A.     Okay.

      14           Q.     Can you go back to the first page of

      15     the January 12th letter?

      16                  Do you see in the third line of the

      17     second paragraph it references the August 12th,

      18     1994 HCFA correspondence, open parentheses,

      19     (Attachment 1), closed parentheses?

      20           A.     Yes.

      21           Q.     And do you also see the August 12th,

      22     1994 letter which it attaches -- Attachment 1?




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  140:1            A.     Yes.

       2           Q.     As this letter is included as an

       3     attachment in the letter sent by Mr. Collins, is

       4     it fair to say that Louisiana DHH received this

       5     August 12th, 1994 letter at some point in time?

       6                  MR. KATZ:     Objection to form.

       7                  MS. RANKIN:     Objection to the form.

       8                  THE WITNESS:     Yes.

       9     BY MR. FAUCI:

      10           Q.     Can you look at the second page of the

      11     August 12th, 1994 letter and look at the last

      12     full paragraph?      Can you read that paragraph?

      13           A.     "We would also clarify our policy that

      14     a dispensing fee determination must be separate

      15     and distinct from the EAC determination and

      16     unrelated to the cost of the drug product."

      17           Q.     That's -- that's fine.

      18                  Did the state Medicaid program ever

      19     determine the estimated acquisition cost based on

      20     a consideration of what a dispensing fee should

      21     be?

      22                  MR. KATZ:     Objection.




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  141:1                   MS. RANKIN:     Objection to the form.

       2                  THE WITNESS:     No.

       3     BY MR. FAUCI:

       4           Q.     And did DHH ever determine a dispensing

       5     fee based on a consideration of what the

       6     estimated acquisition cost should be?

       7                  MR. KATZ:     Objection to form.

       8                  THE WITNESS:     No.

       9     BY MR. FAUCI:

      10           Q.     So in this regard did DHH keep the EAC

      11     determination and the dispensing fee

      12     determination separate and distinct from one

      13     another?

      14                  MR. KATZ:     Objection to form.

      15                  THE WITNESS:     Yes.

      16     BY MR. FAUCI:

      17           Q.     We'll move on from that document. I'm

      18     going to show you what I believe is going to be

      19     marked DOJ Exhibit 3.

      20                  I'm sorry.     I believe I've -- I've

      21     given you the wrong document.          Can we have that

      22     marked as Exhibit 4?        I apologize. I want that to




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  145:1            Q.     Can you look at Exhibit 4?

       2           A.     (Witness complies.)

       3           Q.     Tell me when you're -- familiarized

       4     yourself with the document.

       5           A.     Okay.

       6           Q.     What is this document?

       7           A.     This is a state plan page with, it

       8     appears, a different level of reimbursement.

       9           Q.     What's the approval date and the

      10     effective date of this page?

      11           A.     The approval date is 11/21/2000, and

      12     the effective date is February 1, 2000.

      13           Q.     Do you see the paragraph stating

      14     "Modified"?

      15           A.     Yes.

      16           Q.     Can you read me that paragraph?

      17           A.     "'Modified' means the lower of the

      18     following applicable limits:

      19                  "AWP minus either 15% for independent

      20     pharmacies (all pharmacies not included in the

      21     chain pharmacy designation) or 16.5% for chain

      22     pharmacies (more than fifteen Medicaid enrolled




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  146:1      pharmacies under common ownership)."

       2           Q.     Why did Louisiana lower the

       3     reimbursement methodology in this plan?

       4           A.     As I recall, the secretary of the

       5     department wanted to pursue that based on the

       6     survey findings, the Myers and Stauffer survey

       7     findings.

       8           Q.     Do you know if any pharmacy has

       9     threatened to leave the program as a result of

      10     this change?

      11                  MR. KATZ:     Object to the form.

      12                  THE WITNESS:     I don't recall any

      13     wanting to leave the program as a result of that

      14     change.

      15     BY MR. FAUCI:

      16           Q.     And I'm going to show you one more

      17     document in this chain.         This document was

      18     previously marked as Abbott Exhibit 1056. I don't

      19     think we need to re-mark this.           Tell me when

      20     you've had a moment to familiarize yourself with

      21     this document.

      22           A.     I'm ready.




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